Ao 245 s c§§.SQ/g§gll\?@£Tgpa].-?§'\)]EMhegoicurg§£_;¥né£ i|rzi|aeqrqéi/I;|fa§/Q:§sepage 1 Of 2 Page|D 49

UNITED S'I'ATES DISTRIC'I' COUR'I' Fl!-E=_, _

Western District of Tennessee oh
USAPR |8 AH 613

ROBERTZK DITPOUO

UNITED STATES OF AMERICA CLERK_ U_S_ D|_;:~‘r, C.£
Plaintiffr W.D. OF TN, ME:MPHIS
VS. Case Number 2:01CR20179-Ol-Ml

JANET HOGELAND
Defendant.

JUDGMENT AND COMMITMENT ORDER

ON SUPERVISED RELEASE VIOLATION
(For Offenses Committed On or After November 1, 1987)

The defendant, Janet Hogeland, was represented by Jacob Erwin, Esq.

It appearing that the defendant, who was convicted on January 4, 2002, in the above
styled cause and was placed on Supervised Release for a period of three (3) years, has
violated the terms of Supervised Release.

It is hereby ORDERED and ADJUDGED that the defendant be placed back on Supervised
Release with supervision to expire on August 29, 2005.

FURTHERMORE, the defendant shall be subject to all previously imposed conditions
of Supervised Release. Additionallyr the defendant shall enroll in a twenty-eight (28)
day in-patient drug rehabilitation program and successfully complete said program.

M\M

JON HIPPS MCCALLA
UNI ED STATES DISTRICT JUDGE

Signed this the [S' day cf April, 2005

 

 

 

 

 

Defendant's SS No.: XXX-XX-XXXX _(W@
Defendanc's Date of sirth= 01/29/1967 0<0@\\,3
U.s, Marshal No.= 17834-076 ee»&\<\°{@
Defendant's Mailing Address: 233 Stardust, Riplev, TN 38063 d“§% J`
o
'a\f\ed 00
<BGO“ ?¢I?
(\\KQ.<\\G %¢?’QO\?
090 6 €NMU
1\<\\‘E»¢` 65
\)\3
¢Nw

   

UNITED sTATE DISTRIC CoUR - WETERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 46 in
case 2:01-CR-20179 Was distributed by faX, mail, or direct printing on
April 18, 2005 to the parties listed.

 

 

Jacob E. ErWin
WAGERMAN LAW FIRM
200 Jefferson Avenue

Ste. 13 13

1\/lemphis7 TN 38103

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

